Case 2:19-cv-11558-GCS-RSW ECF No. 83 filed 10/16/20   PageID.378   Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


MICHAEL MOHAMMED SALAMI,

                 Plaintiff,
                                         Case No. 19-CV-11558
      vs.
                                         HON. GEORGE CARAM STEEH
TRUMBLEY, et al.,

              Defendants.
_____________________________/

             ORDER ACCEPTING MAGISTRATE JUDGE'S
            REPORT AND RECOMMENDATION [ECF No. 70]

      Plaintiff Michael Mohammed Salami, an inmate in the custody of the

Michigan Department of Corrections (”MDOC”), filed this pro se civil rights

action on May 28, 2019. Plaintiff filed a Motion for Clerk’s Entry of Default

(ECF No. 59) and a Motion for Default Judgment (ECF No. 60), which were

referred to the Magistrate Judge for a Report and Recommendation. The

Magistrate Judge recommends that both motions be denied because

defendant Trombley has not defaulted.

      No timely objections were filed to the Report and Recommendation.

This Court agrees with and adopts the analysis conducted and

recommendations made by the Magistrate Judge. Now, therefore, for the

reasons stated by the Magistrate Judge, the recommendations are adopted
Case 2:19-cv-11558-GCS-RSW ECF No. 83 filed 10/16/20                PageID.379   Page 2 of 2




as orders of the court.

      IT IS HEREBY ORDERED that the Report and Recommendation

[ECF No. 70] is accepted by the Court.

      IT IS HEREBY FURTHER ORDERED that plaintiff’s motion for clerk’s

entry of default judgment [ECF No. 59] is DENIED.

      IT IS HEREBY FURTHER ORDERED that plaintiff’s motion for

default judgment [ECF No. 60] is DENIED.

Dated: October 16, 2020
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE




                                 CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                 October 16, 2020, by electronic and/or ordinary mail and also
                           on Michael Mohammed Salami #879045,
                    Carson City Correctional Facility, 10274 Boyer Road,
                                    Carson City, MI 48811.

                                       s/Brianna Sauve
                                         Deputy Clerk




                                           -2-
